         Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 1 of 38




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

CYNTHIA BRADLEY AND                    )
EVON FREEMAN,                          )
                                       )         CIVIL ACTION FILE NO.:
        Plaintiff,                     )
                                       )         1:17-CV-02798-WSD
vs.                                    )
                                       )
GLOBAL MANAGEMENT &                    )
INVESTMENT CORPORATION                 )
and McDONOUGH HOTEL, LLC,              )
                                       )
        Defendants.                    )

                 JOINT MOTION FOR STIPULATED JUDGMENT
                 APPROVING FLSA SETTLEMENT AGREEMENT

        Plaintiffs      CYNTHIA    BRADLEY        (“Bradley”)   and   Evon   Freeman

(“Freeman”) (collectively hereinafter “Plaintiffs”) and defendants GLOBAL

MANAGEMENT & INVESTMENT CORPORATION, and McDONOUGH

HOTEL, LLC, (collectively hereinafter “Defendants” or “McDonough Hotel”),

(together, the “Parties”), by and through their respective undersigned counsel,

hereby file this Joint Motion for Stipulated Judgment Approving FLSA Settlement

Agreement. In support of their joint motion, the Parties state as follows:

       STATEMENT OF FACTS AND SUMMARY OF PROCEEDINGS

        Plaintiffs Cynthia Bradley and Evon Freeman are former employees of

Defendants. Plaintiffs brought this action against Defendants seeking allegedly


                                           -1-
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         Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 2 of 38




unpaid overtime wages under the Fair Labor Standards Act (“FLSA”) and

discrimination and retaliation claims for damages pursuant to 42 U.S.C. § 1981 (the

“claims”). The Parties agreed to settle the case and now request this Court’s entry

of a stipulated judgment approving the settlement agreement.

        On or about October 30, 2017, Plaintiff Bradley filed her First Amended

Complaint against Defendants alleging violations of the FLSA. (Docket No. 9). On

or about January 22, 2018, Plaintiff Bradley filed her Second Amended Complaint,

naming Freeman as an additional plaintiff. (Docket No. 20). Although Defendants

deny liability, counsel for the parties agreed to assess the viability of Plaintiffs’

claims and the strength of any defenses to same. After careful consideration, the

Parties determined that settlement would be favorable to both sides instead of

litigation. Thus, the parties entered into settlement discussions and ultimately

reached agreement as to all material terms of settlement as set forth in the Settlement

Agreement and Release of Claims (the “Agreements”) attached hereto as Exhibit A

and Exhibit B. (Settlement Agreement and Release of Claims by Bradley, attached

hereto as Exhibit “A”; Settlement Agreement and Release of Claims by Freeman,

attached hereto as Exhibit “B”).

        Under the Agreements, without admitting liability, Defendants agree to pay

Bradley the total amount of $25,000, including payment to Bradley of $14,404.27

as overtime wages and liquidated damages, and $10,595.73 to Bradley’s counsel for


                                         -2-
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         Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 3 of 38




attorney’s fees and costs. In addition, under the Agreements, without admitting

liability, Defendants agree to pay Freeman the total amount of $15,000, including

payment to Freeman of $9,000 as overtime wages and liquidated damages, and

$6,000 to Freeman’s counsel for attorney’s fees and costs        The Parties expressly

agreed to jointly submit the Agreements to this Honorable Court requesting the

Court’s approval of settlement.

                       ARGUMENT AND CITATION OF AUTHORITY

        In order to have an enforceable release of FLSA claims in this Circuit, either

the Court or the U.S. Department of Labor must review and approve agreements

settling alleged violations of the FLSA. See Lynn’s Food Stores, Inc. v. United

States, 679 F.2d 1350, 1353 (11th Cir. 1982) (holding claims for back wages arising

under the FLSA may be settled or compromised only with the approval of the Court

or the Secretary of Labor). Because the Agreement was not made under the

supervision of the Secretary of Labor, “it is valid only if the district court enter[s] a

‘stipulated judgment’ approving it.” Nall v. Mal-Motels, Inc., 723 F.3d 1304, 1308

(11th Cir. 2013) (citing Lynn’s Food, 679 F.2d at 1352-54). Accordingly, the Parties

are submitting a copy of the Agreement for the Court’s review, ratification, and entry

of stipulated judgment approving it.

        In order to approve a settlement of overtime claims proposed by an employer

and an employee, a court must determine that the settlement is a “fair and reasonable


                                          -3-
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         Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 4 of 38




resolution of a bona fide dispute” of the claims raised pursuant to the FLSA. Lynn's

Food, 679 F.2d at 1355. If a settlement in an employee FLSA suit reflects a

“reasonable compromise over issues,” such as FLSA coverage or computation of

back wages that are “actually in dispute,” the court may approve the settlement “in

order to promote the policy of encouraging settlement of litigation.” Id. at 1354.

        I.       APPROVAL OF PAYMENT TO PLAINTIFFS

        There is a strong presumption in favor of finding a settlement fair. See

Murchison v. Grand Cypress Hotel Corp., 13 F.3d 1483, 1486 (11th Cir. 1994)

(noting that the Eleventh Circuit Court of Appeals “favor[s] and encourage[s]

settlements in order to conserve judicial resources.”). In determining whether the

settlement is fair, adequate, and reasonable, courts may (but are not required to)

examine the following factors that are also used in approving the settlement of class

actions under Federal Rule of Civil Procedure 23:

        (1) the existence of collusion behind the settlement;
        (2) the complexity, expense, and likely duration of the litigation;
        (3) the stage of the proceedings and the amount of discovery completed;
        (4) the probability of plaintiff's success on the merits;
        (5) the range of possible recovery; and
        (6) the opinions of counsel.

See Leverso v. SouthTrust Bank of Alabama, Nat’l Assoc., 18 F.3d 1527, 1530-31,

n.6 (11th Cir. 1994); Garcia v. Riccy's Landscaping Servs., Inc., No. 6:08-cv-706-

Orl- 28GJK, 2009 WL 347418, at *2 (M.D. Fla. Feb. 11, 2009); Hitchcock v. Orange

County, Fla., No. 604CV1722ORL28JGG, 2006 WL 3614925, at *3 (M.D. Fla. Dec.

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            Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 5 of 38




11, 2006). In this case, an analysis of the above-listed factors dictates approval of

the settlement.

        As an initial matter, the settlement is the ultimate result of arms-length

negotiations by Parties who were well represented by counsel and made aware of all

potential outcomes by counsel, and represents a compromise between the legal

positions taken by the Parties in this litigation. The settlement is fair, the payment

to Plaintiffs is equitable, and there is no evidence of collusion.

        In addition, the Agreement allows Plaintiffs to make a recovery now, without

suffering the delay and risk of litigating their claims. In this case, further litigation,

including continued discovery and depositions, anticipated cross-motions for

summary judgment, and potential appeals, could drag on for years and require the

expenditure of a tremendous amount of resources. Thus, the settlement satisfies the

complexity, expense, and likely duration of the litigation element of the analysis.

Likewise, the parties have had sufficient information upon which to assess the

potential merit of each claim, ultimate liability, and the apparent risk of proceeding

to trial.

        As for the probability of Plaintiffs’ success on the merits of their claims,

Defendants adamantly maintain that Plaintiffs’ positions were properly and

reasonably classified as non-exempt under the FLSA, and that Plaintiffs have been

fully and properly compensated in compliance with the FLSA and all other


                                          -5-
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         Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 6 of 38




applicable laws. Conversely, Plaintiffs assert that Defendants failed to compensate

Plaintiffs for time worked in excess of 40 hours per week on a basis of one and one-

half times the regular rate of pay at which Plaintiffs were employed in violation of

the FLSA’s overtime requirements. The Parties therefore disagree on the probability

of Plaintiffs’ success on the merits both as to liability and damages and the range of

possible recovery.           “[T]here is a range of reasonableness with respect to a

settlement—a range which recognizes the uncertainties of law and fact in any

particular case and the concomitant risks and costs necessarily inherent in taking any

litigation to completion.” Newman v. Stein, 464 F.2d 689, 693 (2d Cir. 1972).

        Based on what the Parties learned through the discussions of counsel and the

exchange of information and documents, the Parties negotiated a fair settlement for

Plaintiffs. The Settlement provides Plaintiffs with a recovery greater than the

maximum possible measure of damages that Defendants contend Plaintiffs could

ever be awarded in this case but less than the maximum possible measure of damages

that Plaintiffs contend they could be awarded. Therefore, Plaintiffs’ recovery is

within the range of possible recovery amounts that should be approved as fair. By

settling, Plaintiffs avoid the risks of not establishing liability at trial and the

possibility of an adverse cost judgment under Fed. R. Civ. P. 54, avoids substantial

and indefinite delay in payment involved in having to wait for trial and any appeals,

and avoids potential adverse determinations on damages such as rejection or


                                             -6-
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         Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 7 of 38




reduction of the hours claimed or reduction of the calculation of overtime damages

and/or liquidated damages arising from the number of overtime hours proven.

Defendants’ and Plaintiffs’ counsel therefore recommended acceptance of this

settlement.

        II.      APPROVAL OF PAYMENT OF ATTORNEY’S FEES

        The Agreements provide that Defendants shall pay Plaintiffs’ attorney’s fees

and costs in the amount of $10,595.73 with respect to Bradley’s claims, and $6,000

with respect to Freeman’s claims, to be approved by this Court. This is an individual

overtime case rather than a collective action under the FLSA, and the Agreement

specifically provides for a payment amount to Plaintiffs for their alleged damages,

and to Plaintiffs’ counsel for attorney’s fees and costs incurred in this action.

Therefore, as a district court within this Circuit recognized in Dail v. George A. Arab

Inc., 391 F. Supp. 2d 1142, 1146 (M.D. Fla. 2005), the Court is not required to

determine the amount of the fee award, or to assess the reasonableness of the amount

agreed upon by the Parties:

                 The FLSA does not require the court to assess the fairness
                 of an agreed payment of attorneys’ fees in settling an
                 individual action. Indeed, the purpose of the fairness
                 review is to ensure that an employer does not take
                 advantage of an employee in settling his claim for wages,
                 and not to ensure that the employee does not overcharge
                 the employer. See Lynn’s Food Stores, 679 F.2d at 1354.
                 In an individual FLSA claim, where separate amounts are
                 set forth for the payments of unpaid wages and payments
                 for attorneys’ fees, the Court has greater flexibility in

                                            -7-
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         Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 8 of 38




                 exercising its discretion in determining the reasonableness
                 of the attorneys’ fee.

        Moreover, because Defendants have agreed to and do not oppose the amount

or reasonableness of the attorney’s fees to be paid to Plaintiffs’ counsel, the Court

need not conduct an evidentiary inquiry into the reasonableness of the hourly rate

charged by Plaintiffs’ counsel or the amount of the total fees incurred. See Dail, 391

F. Supp. 2d at 1147 (holding that because defendant joined in the motion for

approval of the settlement amounts, “[t]he Court, therefore, finds it unnecessary to

inquire into the reasonableness of the hourly rate charged by Plaintiff’s counsel, and

accepts the Parties’ stipulation as to the reasonableness of the attorneys’ fees and

costs.”). If, however, the Court requires a fee petition or other submission for the

purposes of conducting a lodestar cross-check on the attorney’s fees and costs to be

paid to Plaintiffs’ counsel in this settlement, Plaintiffs respectfully request the

opportunity to supplement this joint motion with the required submittal.

                                     CONCLUSION

        For the reasons set forth above and for good cause shown, the Parties

respectfully request that this Court enter the Order attached hereto as Exhibit C

approving the Agreements attached hereto as Exhibit A and Exhibit B.

        Respectfully submitted, this 13th day of February, 2018.




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         Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 9 of 38




 COUNSEL FOR PLAINTIFFS                 COUNSEL FOR DEFENDANTS

 /s/ Adeash “AJ” Lakraj                 /s/ Alexa L. Morris_______
 Adeash “AJ” Lakraj                     William T. Mitchell
 Georgia Bar No. 444848                 Georgia Bar No. 513810
 ajlakraj@justiceatwork.com             Sean Keenan
 Barrett & Farahany                     Georgia Bar No. 523871
 1100 Peachtree St.                     Alexa L. Morris
 Suite 500                              Georgia Bar No. 995229
 Atlanta, GA 30309                      Cruser, Mitchell, Novitz, Sanchez,
                                           Gaskin & Zimet LLP
                                        275 Scientific Drive, Suite 2000
                                        Norcross, GA 30092




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         Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 10 of 38




                             CERTIFICATE OF COMPLIANCE

        Pursuant to Local Rule 7.1(D), counsel hereby certifies that this document

has been prepared using Times New Roman 14-point font, as approved by Local

Rule 5.1(c).

        This 13th day of February, 2018.

                                                    /s/ Alexa L. Morris________
                                                    William T. Mitchell
                                                    Georgia Bar No. 513810
                                                    Sean Keenan
                                                    Georgia Bar No. 523871
                                                    Alexa L. Morris
                                                    Georgia Bar No. 995229
                                                    Cruser, Mitchell, Novitz,
                                                      Sanchez, Gaskin & Zimet LLP
                                                    275 Scientific Drive, Suite 2000
                                                    Norcross, GA 30092




                                        - 10 -
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         Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 11 of 38




                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I have this day electronically filed the foregoing

Joint Motion for Stipulated Judgment Approving FLSA Settlement Agreements

with the Clerk of Court using the CM/ECF system, which will automatically send

email notification of such filing to the following attorneys of record:

                                        Adeash “AJ” Lakraj
                                    BARRETT & FARAHANY
                                         1100 Peachtree St.
                                             Suite 500
                                         Atlanta, GA 30309
                                    ajlakraj@justiceatwork.com

This 13th day of February, 2018.

                                                         /s/ Alexa L. Morris________
                                                         William T. Mitchell
                                                         Georgia Bar No. 513810
                                                         Sean Keenan
                                                         Georgia Bar No. 523871
                                                         Alexa L. Morris
                                                         Georgia Bar No. 995229
                                                         Cruser, Mitchell, Novitz,
                                                           Sanchez, Gaskin & Zimet LLP
                                                         275 Scientific Drive, Suite 2000
                                                         Norcross, GA 30092




                                              - 11 -
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         Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 12 of 38




                                   Exhibit A




                                      - 12 -
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                 Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 13 of 38



                     SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS


This Settlement Agreement and Release of Claims (the "Agreement") is entered into by and among
CYNTHIA            BRADLEY              ("Bradley"   or    "Plaintiff"),   and   GLOBAL   MANAGEMENT   &
INVESTMENT CORPORATION and McDONOUGH HOTEL, LLC ("McDONOUGH HOTEL"
or "Defendants") (collectively "the Parties").


This Agreement is made as a compromise between the Parties for the complete and final settlement
of their claims, differences and causes of actions raised by Bradley.


                                                          RECITALS


WHEREAS, Bradley filed suit against Defendants asserting her claims at issue in this Agreement
in the case styled Cynthia Bradley v. Global Management & Investment Corporation and
McDonough Hotel, LLC, Case No. l:17-cv-02798, U.S. District Court for the Northern District of
Georgia (the "Litigation").


WHEREAS, Defendants deny Bradley's allegations regarding her claims.


WHEREAS, on December 15, 201 7, the Parties arrived at an agreement to settle Bradley's claims.


WHEREAS, Defendants deny, and continue to deny, the allegations in the Litigation and all
liability and damages of any kind to anyone with respect to the alleged facts or causes of action
asserted in Bradley's claims; nonetheless, without admitting or conceding any liability or damages,
and to avoid the burden, expense and uncertainty of litigation, the Parties have agreed to settle
Bradley's claims on the terms and conditions set forth in this Agreement.


WHEREAS, the Parties recognize the outcome in the Litigation would be uncertain and achieving
a final result through litigation would require additional risk, discovery, time and expense,


WHEREAS, counsel have investigated and evaluated the facts and law relating to the claims
asserted in Bradley's claims; after balancing the benefits of settlement with the costs, risks, and
delay of litigation, Bradley and Bradley's counsel believe the settlement as provided in this
Agreement is in the best interests of Bradley and represents a fair, reasonable, and adequate
resolution of her claims.


NOW THEREFORE, the Parties, intending to be legally bound, and in consideration of the mutual
covenants and other good and valuable consideration set forth below, agree as follows:

                                                     AGREEMENT


A.        Consideration: In order to resolve Bradley's FLSA claims, Defendants agree to pay a total
of $25,000.00 (collectively the "Settlement Payment"):


          (i)        $14,404.27 to Bradley as overtime wages and liquidated damages; and
          (ii)       $10,595.73 to Bradley's counsel for attorney's fees and costs.




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                  Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 14 of 38




B.        Settlement Payment and Taxes:


           1.           In exchange for and in consideration of the Parties in this Agreement, Defendants
agree     to      pay    a total   sum    of TWENTY-FIVE       THOUSAND       DOLLARS       AND    0/100ths
($25,000.00). The payment will be tendered as follows:

                 i.     The gross and net amount of $1,440.43, as taxable wages, less appropriate taxes
                        and withholdings, to represent the unpaid wages claim shall be paid to Bradley. An
                        IRS Form W-2 will be issued to Bradley for this amount. Plaintiff must provide a
                        fully completed and executed IRS Form W-4 to counsel for Defendants along with
                        the executed Agreement; and
                ii.     One (1) check payable to Bradley in the gross and net amount of $12,963.84, as
                        liquidated damages. An IRS Form 1099 will be issued to Bradley for this amount.
                        Bradley must provide a fully completed and executed IRS Form W-9 to counsel for
                        Defendants along with the executed Agreement; and
            iii.        One (1) check payable to Barrett & Farahany in the amount of $10,595.73
                        representing attorneys' fees and costs. Barrett & Farahany must provide a fully
                        completed and executed IRS Form W-9 to counsel for Defendants along with the
                        executed Agreement.


          2.            The settlement sum will be mailed to Plaintiffs counsel within ten (10) business
days following: (1) the full execution of the Agreement; (2) Plaintiffs delivery of completed IRS
forms W-4 and W-9 to defendants' counsel; and (3) Plaintiffs counsel's delivery of completed
IRS Form W-9 for Barrett & Farahany. The settlement proceeds shall be held intrust by Plaintiffs
counsel until such time as the Court's order approving this Agreement ("Approval Order") is
entered.


          3.            Plaintiff shall direct her attomey(s) to prepare and file ail necessary documents to
obtain the Court's approval of this Agreement and dismissal of her claim in the Lawsuit with
prejudice.


C.        Mutual Releases:             In exchange for the payments set forth above, and other good and
valuable consideration, the receipt of which is hereby acknowledged, Bradley hereby RELEASES,
REMISES, AND FOREVER DISCHARGES Global Management & Investment Corporation and
McDonough Hotel, LLC, all principals and agents, employers and employees, managers,
supervisors, lawyers, affiliated companies, tenants, and suppliers and distributors of Defendants
and any of its subsidiaries, and any joint tortfeasors and other persons and entities, whether or not
specifically named or referred to who may be jointly or severally liable; all primary and excess
insurers, reinsurers, indemnitors, predecessors and successors, executors and administrators, heirs
and assigns; and all other persons and entities, whether or not specifically named or referred to,
which may be liable on behalf of those named or referred to above (collectively the " Released
Parties" ) from any and all claims, demands, rights, charges, actions, interests, debts, liabilities,
damages, costs, attorneys' fees and expenses, or causes of action of whatever type or nature,
whether legal or equitable, whether known or unknown to him/her which he/she may now have
against them, either individually, jointly, or severally, expressly limited to only his/her individual
claims under the Fair Labor Standards Act for payment of hours worked up to the date of this



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               Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 15 of 38



Agreement, all liquidated damages that Bradley may be entitled to under the FLSA, all attorney's
fees that Bradley may be entitled to under the FLSA, and any other award, recovery, damages or
compensation that Bradley may be entitled to under the FLSA, and it is expressly agreed that
Bradley is not releasing any other claims in this Agreement, and that this release shall not have res
judicata or collateral estoppel effect on any claims not expressly released in this Agreement. Global
Management & Investment Corporation and McDonough Hotel, LLC, its insurers, directors,
officers, administrators, agents,          subsidiaries, affiliates,   and attorneys, hereby RELEASE,
REMISE, AND FOREVER DISCHARGE Bradley from any and all claims, demands, rights,
charges, actions, interests, debts, liabilities, damages, costs, attorneys' fees and expenses, or causes
of action of whatever type or nature, whether legal or equitable, whether known or unknown to
them which they may now have against her, either individually, jointly, or severally, based upon
acts or facts which have occurred from the beginning of time to the date of this Agreement, arising
out of or related to her claims released in this Agreement,


D.        Court Approval: Within fourteen (14) business days of the execution of this Agreement
the Parties will file with the Court on the publicly available docket a joint motion for approval of
the terms of this Agreement, attaching this Agreement as an exhibit thereto. The Parties will
cooperate and take all necessary steps to effect final judicial approval of this Agreement.        The
Parties expressly agree that the terms of this Agreement are fair and equitable, and to the extent
that Bradley's Counsel is required to petition the Court for approval of the reasonableness and
amount of its attorneys' fees and costs to be paid under this Agreement, Defendants do not oppose
and agree not to oppose the amount (or the reasonableness of the amount) of Bradley's attorneys'
fees to be paid to Bradley's Counsel out of the total Settlement Payment.


E.        No Admission of Liability: The Parties agree and acknowledge this Agreement is the
result of a compromise and shall not be construed as an admission of liability, responsibility, or
wrongdoing by Defendants.              Defendants deny any liability, responsibility, or wrongdoing as
alleged in the claims,


F.        Severability of Provisions:         After approval by the Court, as addressed above, if any
portion of this Agreement is held to be invalid by operation of law, the remaining terms of this
Agreement shall not be affected and shall continue in full force and effect. If the Court does not
approve this Agreement in whole, however, the Parties agree they will attempt, in good faith, to
revise this Agreement consistent with the intent of the Parties, as reflected in this Agreement, and
resubmit this Agreement for approval by the Court within ten (10) days of any Order rejecting
settlement approval.


G.        Knowing and Voluntary Waiver: The Parties acknowledge and agree they had sufficient
time to consider this Agreement and consult with legal counsel of their choosing concerning its
meaning. When entering into this Agreement, the Parties have not relied on any representations or
warranties made by the Parties, other than representations and warranties expressly set forth in this
Agreement.


H.        Choice of Law: The enforcement of this Agreement shall be governed and interpreted by,
and under, the laws of the State of Georgia regardless of whether any party is, or may hereafter be,
a resident of another state.




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             Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 16 of 38




 I.        Extension of Time: The Parties may mutually agree upon a reasonable extension of time
for    deadlines     and       dates   reflected   in   this   Agreement,   without   further   notice.

J.         Amendments/Modifications: No waiver, modification, or amendment of the terms of this
Agreement shall be valid or binding unless in writing, signed by all of the Parties.

K.     Binding Agreement: This Agreement shall be binding upon, and inure to the benefit of,
the Parties and their affiliates, beneficiaries, heirs, executors, administrators, successors, and
assigns.


L.      No Third-Party Beneficiaries: This Agreement shall not be construed to create rights in,
grant remedies to, or delegate any duty, obligation or undertaking established herein to, any third
party as a beneficiary of this Agreement.


M.      References and Anti-Retaliation: Defendants are aware of the anti-retaliation provisions
of Section 215 of the Fair Labor Standards Act and agree to comply to the extent required by
law. Defendants agree to respond to any inquiries regarding Plaintiff by providing only a neutral
reference stating her dates of employment, job title, and last rate of pay, to the extent that
information is requested.

N.      Entire Agreement: This Agreement constitutes the entire agreement of the Parties
concerning the subjects included herein.


O.      Captions: The captions or headings of the sections and paragraphs of this Agreement have
been inserted for convenience only, and shall have no effect on the construction or interpretation
of any part of this Agreement.

P.      When Agreement Becomes Effective; Counterparts: This Agreement shall become
effective upon its execution and approval by the Court; however, the date of execution by the
Parties shall be the effective date of the Agreement for the purposes of determining the end date
of the releases contained herein. The Parties may execute this Agreement in counterparts, and
execution in counterparts shall have the same force and effect as if the Parties had signed the same
instrument.


Q.    Facsimile Signatures: Execution by facsimile or signed ,pdf delivered by email shall be
deemed effective as if executed in original.


R.     Corporate Signatories: Each person executing this Agreement, including execution on
behalf of the corporate defendant, warrants and represents that such person has the authority to do
so.



S.      Continuing Jurisdiction: Nothing in this Agreement is intended to limit the Court's
authority to retain continuing and exclusive jurisdiction over the Parties to this Agreement, for the
purpose of the administration and enforcement of this Agreement.




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               Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 17 of 38



T.      Medicare Release:    Bradley warrants that she is not a Medicare beneficiary as of the date
of this Agreement and therefore no conditional payments have been made by Medicare. Bradley
agrees to indemnify and hold harmless McDonough Hotel, LLC from any and all claims, demands,
liens, subrogated interests, and causes of action of any nature or character that have been or may
in the future be asserted by Medicare and/or persons or entities acting on behalf of Medicare, or
any other person or entity, related to any Conditional Payments made by Medicare, or any medical
expenses or payments arising from or related to any released matters that is subject to this
Agreement or the Medicare Release (attached hereto as Exhibit "A"), including but not limited to
all claims and demands for reimbursement of Conditional Payments or for damages or double
damages based upon any failure to reimburse Medicare for Conditional Payments and all Medicaid
liens.


                                        [signatures on next page]




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              Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 18 of 38



                   GLOBAL MANAGEMENT & INVESTMENT CORPORATION




By:                                  , [Officer Title]

Date:




Mcdonough hotel, llc




By:                                  , [Officer Title]



Date:




CYNTHIA BRADLEY


              ,Us--      )Jlt>           t




REVIEWED AND/APPROVED AS TO FORM BY COUNSEL:




 (Seash "AJ" LajefiyyCounsel for Bradley                 Robyn Oliver Webb, counsel for Defendants


Date:                                                    Date:




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Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 19 of 38
Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 20 of 38
               Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 21 of 38



                                             EXHIBIT A

MEDICARE RELEASE


Medicare Information
Pursuant to Section 1 1 1 of the Medicare, Medicaid and SCHIP Extension Act of 2007, The Center
for Medicare and Medicaid Services must be provided the releasor's full address, Social Security
Number, date of birth, gender, and, if available, their Medicare Health Insurance Claim Number
(HICN.) Provision of this information is a condition of this settlement. Spaces are provided at
the end of this Release for compliance.


Liens - Indemnity and Hold Harmless
It is expressly understood and agreed, Claimant further covenant and agrees that any and all
Medicare, Social Security, hospital, medical insurance coverage subrogation claims and/or any
and all other type of liens or interest that is and/or could be claimed by any person and/or entity,
will be fully paid, satisfied and released from the settlement proceeds paid herein, in trust, unless
and until such time as said liens and/or claims have been fully paid, satisfied or released.


In this regard, Claimant agrees to indemnify and hold harmless the Released Parties, their
insurance carriers, their attorneys and all others in privity with them, from any claim by, through
and/or under Claimant including, but not limited to, any direct claim by Medicare and/or Social
Security for reimbursement of any funds paid by them relating to the injuries and claims arising
from the accident in question.


Medicare Set Aside
It is further expressly understood and agreed, to the extent applicable, Claimant covenants that
Claimant will set aside funds necessary in any approved Medicare Set Aside Account, to pay for
any anticipated future medical and/or health care needs of Claimant, for any injury and/or
condition that requires treatment that arises from the injuries related and/or caused by the accident
in question. In the alternative, Claimant shall covenant that they do not presently anticipate that
Claimant will require medical and/or health care treatment for the injuries and/or conditions related
to and/or arising from the accident in question. Further, should funds not be placed in an approved
Medicare Set Aside Account for Claimant, and care and treatment for injuries and/or conditions
reasonably related to the accident is subsequently sought, then Claimant covenants and represents
to the Released Parties, their insurance carriers, their attorney and others in privity with them, that
Claimant will not submit nor seek payment for said medical care from Medicare and/or any other
government funded program. This covenant and representation shall be included as part of the
indemnification obligations of Claimant stated herein.


It is understood and agreed that the information provided below will be provided to The Centers
for Medicare and Medicaid Services pursuant to The Medicare, Medicaid and SCHIP Extension
Act of 2007.




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               Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 22 of 38




Full Name as it appears on your                                     Social Security Number
Social Security_Card                       V |
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Address                                                             Date of Birtl
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Medicare Health Insurance Claim                                     Gender
Number (HICN)



          I further declare under penalty of perjury under the laws of the State of          CoQ*-      .
that: 1) I am not currently entitled to Medicare; and 2) none of the treatment I received for the
injury or injuries claimed in this lawsuit (or related to the incident giving rise to this lawsuit) or
Released in this agreenj^nt were submitted to or paid for by Medicare.



         MANT/PLAINTIFF signal




THE UNDERSIGNED HAS READ THE FOREGOING RELEASE AND FULLY
UNDERSTANDS IT.


Signed, sealed and delivered this J                             day of


                                                                         CAUTION: READ BEFORE SIGNING
BELOW


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                     M
          Witness                                    Claimant



STATE OF                                         a

COUNTY OF                    U         1




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    to me known to be the person(s) named herein and who executed the foregoing Release and
                                        acknowledged to me that                                voluntarily
    executed the same.



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                                   Exhibit B




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        Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 25 of 38



               SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS

This Settlement Agreement and Release of Claims (the "Agreement") is entered into by and among
EVON FREEMAN (“Freeman” or “Plaintiff”), and GLOBAL MANAGEMENT &
INVESTMENT CORPORATION and McDONOUGH HOTEL, LLC (“McDONOUGH HOTEL”
or “Defendants”) (collectively “the Parties”).

This Agreement is made as a compromise between the Parties for the complete and final settlement
of their claims, differences and causes of actions raised by Freeman.

                                           RECITALS

WHEREAS, Freeman filed suit against Defendants asserting her claims at issue in this Agreement
in the case styled Cynthia Bradley v. Global Management & Investment Corporation and
McDonough Hotel, LLC, Case No. 1:17-cv-02798, U.S. District Court for the Northern District of
Georgia (the “Litigation”).

WHEREAS, Defendants deny Freeman’s allegations regarding her claims.

WHEREAS, on December 15, 2017, the Parties arrived at an agreement to settle Freeman’s claims.

WHEREAS, Defendants deny, and continue to deny, the allegations in the Litigation and all
liability and damages of any kind to anyone with respect to the alleged facts or causes of action
asserted in Freeman’s claims; nonetheless, without admitting or conceding any liability or
damages, and to avoid the burden, expense and uncertainty of litigation, the Parties have agreed to
settle Freeman’s claims on the terms and conditions set forth in this Agreement.

WHEREAS, the Parties recognize the outcome in the Litigation would be uncertain and achieving
a final result through litigation would require additional risk, discovery, time and expense.

WHEREAS, counsel have investigated and evaluated the facts and law relating to the claims
asserted in Freeman’s claims; after balancing the benefits of settlement with the costs, risks, and
delay of litigation, Freeman and Freeman’s counsel believe the settlement as provided in this
Agreement is in the best interests of Freeman and represents a fair, reasonable, and adequate
resolution of her claims.

NOW THEREFORE, the Parties, intending to be legally bound, and in consideration of the mutual
covenants and other good and valuable consideration set forth below, agree as follows:

                                         AGREEMENT

A.       Consideration: In order to resolve Freeman’s FLSA claims, Defendants agree to pay a
total of $15,000.00 (collectively the "Settlement Payment"):

       (i)     $9,000 to Freeman as overtime wages and liquidated damages; and
       (ii)    $6,000 to Freeman’s counsel for attorney’s fees and costs.
         Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 26 of 38




B.       Settlement Payment and Taxes:

        1.      In exchange for and in consideration of the Parties in this Agreement, Defendants
agree to pay a total sum of FIFTEEN THOUSAND DOLLARS AND 0/100ths ($15,000.00). The
payment will be tendered as follows:

            i.    The gross and net amount of $900, as taxable wages, less appropriate taxes and
                  withholdings, to represent the unpaid wages claim shall be paid to Freeman. An
                  IRS Form W-2 will be issued to Freeman for this amount. Plaintiff must provide a
                  fully completed and executed IRS Form W-4 to counsel for Defendants along with
                  the executed Agreement; and
           ii.    One (1) check payable to Freeman in the gross and net amount of $8,100, as
                  liquidated damages. An IRS Form 1099 will be issued to Freeman for this amount.
                  Freeman must provide a fully completed and executed IRS Form W-9 to counsel
                  for Defendants along with the executed Agreement; and
          iii.    One (1) check payable to Barrett & Farahany in the amount of $6,000 representing
                  attorneys’ fees and costs. Barrett & Farahany must provide a fully completed and
                  executed IRS Form W-9 to counsel for Defendants along with the executed
                  Agreement.

       2.      The settlement sum will be mailed to Plaintiff’s counsel within ten (10) business
days following: (1) the full execution of the Agreement; (2) Plaintiff’s delivery of completed IRS
forms W-4 and W-9 to defendants’ counsel; and (3) Plaintiff’s counsel’s delivery of completed
IRS Form W-9 for Barrett & Farahany. The settlement proceeds shall be held in trust by Plaintiff’s
counsel until such time as the Court’s order approving this Agreement (“Approval Order”) is
entered.

       3.     Plaintiff shall direct her attorney(s) to prepare and file all necessary documents to
obtain the Court’s approval of this Agreement and dismissal of her claim in the Lawsuit with
prejudice.

C.      Mutual Releases: In exchange for the payments set forth above, and other good and
valuable consideration, the receipt of which is hereby acknowledged, Freeman hereby
RELEASES, REMISES, AND FOREVER DISCHARGES Global Management & Investment
Corporation and McDonough Hotel, LLC, all principals and agents, employers and employees,
managers, supervisors, lawyers, affiliated companies, tenants, and suppliers and distributors of
Defendants and any of its subsidiaries, and any joint tortfeasors and other persons and entities,
whether or not specifically named or referred to who may be jointly or severally liable; all primary
and excess insurers, reinsurers, indemnitors, predecessors and successors, executors and
administrators, heirs and assigns; and all other persons and entities, whether or not specifically
named or referred to, which may be liable on behalf of those named or referred to above
(collectively the “ Released Parties” ) from any and all claims, demands, rights, charges, actions,
interests, debts, liabilities, damages, costs, attorneys’ fees and expenses, or causes of action of
whatever type or nature, whether legal or equitable, whether known or unknown to him/her which
he/she may now have against them, either individually, jointly, or severally, expressly limited to
only his/her individual claims under the Fair Labor Standards Act for payment of hours worked


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         Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 27 of 38



up to the date of this Agreement, all liquidated damages that Freeman may be entitled to under the
FLSA, all attorney’s fees that Freeman may be entitled to under the FLSA, and any other award,
recovery, damages or compensation that Freeman may be entitled to under the FLSA, and it is
expressly agreed that Freeman is not releasing any other claims in this Agreement, and that this
release shall not have res judicata or collateral estoppel effect on any claims not expressly released
in this Agreement. Global Management & Investment Corporation and McDonough Hotel, LLC,
its insurers, directors, officers, administrators, agents, subsidiaries, affiliates, and attorneys, hereby
RELEASE, REMISE, AND FOREVER DISCHARGE Freeman from any and all claims,
demands, rights, charges, actions, interests, debts, liabilities, damages, costs, attorneys’ fees and
expenses, or causes of action of whatever type or nature, whether legal or equitable, whether
known or unknown to them which they may now have against her, either individually, jointly, or
severally, based upon acts or facts which have occurred from the beginning of time to the date of
this Agreement, arising out of or related to her claims released in this Agreement.

D.      Court Approval: Within fourteen (14) business days of the execution of this Agreement
the Parties will file with the Court on the publicly available docket a joint motion for approval of
the terms of this Agreement, attaching this Agreement as an exhibit thereto. The Parties will
cooperate and take all necessary steps to effect final judicial approval of this Agreement. The
Parties expressly agree that the terms of this Agreement are fair and equitable, and to the extent
that Freeman’s Counsel is required to petition the Court for approval of the reasonableness and
amount of its attorneys’ fees and costs to be paid under this Agreement, Defendants do not oppose
and agree not to oppose the amount (or the reasonableness of the amount) of Freeman’s attorneys’
fees to be paid to Freeman’s Counsel out of the total Settlement Payment.

E.      No Admission of Liability: The Parties agree and acknowledge this Agreement is the
result of a compromise and shall not be construed as an admission of liability, responsibility, or
wrongdoing by Defendants. Defendants deny any liability, responsibility, or wrongdoing as
alleged in the claims.

F.      Severability of Provisions: After approval by the Court, as addressed above, if any
portion of this Agreement is held to be invalid by operation of law, the remaining terms of this
Agreement shall not be affected and shall continue in full force and effect. If the Court does not
approve this Agreement in whole, however, the Parties agree they will attempt, in good faith, to
revise this Agreement consistent with the intent of the Parties, as reflected in this Agreement, and
resubmit this Agreement for approval by the Court within ten (10) days of any Order rejecting
settlement approval.

G.     Knowing and Voluntary Waiver: The Parties acknowledge and agree they had sufficient
time to consider this Agreement and consult with legal counsel of their choosing concerning its
meaning. When entering into this Agreement, the Parties have not relied on any representations or
warranties made by the Parties, other than representations and warranties expressly set forth in this
Agreement.

H.      Choice of Law: The enforcement of this Agreement shall be governed and interpreted by,
and under, the laws of the State of Georgia regardless of whether any party is, or may hereafter be,
a resident of another state.


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         Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 28 of 38




 I.      Extension of Time: The Parties may mutually agree upon a reasonable extension of time
for    deadlines and dates reflected in this Agreement, without further notice.

J.    Amendments/Modifications: No waiver, modification, or amendment of the terms of this
Agreement shall be valid or binding unless in writing, signed by all of the Parties.

K.     Binding Agreement: This Agreement shall be binding upon, and inure to the benefit of,
the Parties and their affiliates, beneficiaries, heirs, executors, administrators, successors, and
assigns.

L.      No Third-Party Beneficiaries: This Agreement shall not be construed to create rights in,
grant remedies to, or delegate any duty, obligation or undertaking established herein to, any third
party as a beneficiary of this Agreement.

M.     References and Anti-Retaliation: Defendants are aware of the anti-retaliation provisions
of Section 215 of the Fair Labor Standards Act and agree to comply to the extent required by
law. Defendants agree to respond to any inquiries regarding Plaintiff by providing only a neutral
reference stating her dates of employment, job title, and last rate of pay, to the extent that
information is requested.

N.     Entire Agreement: This Agreement constitutes the entire agreement of the Parties
concerning the subjects included herein.

O.     Captions: The captions or headings of the sections and paragraphs of this Agreement have
been inserted for convenience only, and shall have no effect on the construction or interpretation
of any part of this Agreement.

P.      When Agreement Becomes Effective; Counterparts: This Agreement shall become
effective upon its execution and approval by the Court; however, the date of execution by the
Parties shall be the effective date of the Agreement for the purposes of determining the end date
of the releases contained herein. The Parties may execute this Agreement in counterparts, and
execution in counterparts shall have the same force and effect as if the Parties had signed the same
instrument.

Q.    Facsimile Signatures: Execution by facsimile or signed .pdf delivered by email shall be
deemed effective as if executed in original.

R.      Corporate Signatories: Each person executing this Agreement, including execution on
behalf of the corporate defendant, warrants and represents that such person has the authority to do
so.

S.      Continuing Jurisdiction: Nothing in this Agreement is intended to limit the Court’s
authority to retain continuing and exclusive jurisdiction over the Parties to this Agreement, for the
purpose of the administration and enforcement of this Agreement.




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         Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 29 of 38



T.      Medicare Release: Freeman warrants that she is not a Medicare beneficiary as of the
date of this Agreement and therefore no conditional payments have been made by Medicare.
Freeman agrees to indemnify and hold harmless McDonough Hotel, LLC from any and all claims,
demands, liens, subrogated interests, and causes of action of any nature or character that have been
or may in the future be asserted by Medicare and/or persons or entities acting on behalf of
Medicare, or any other person or entity, related to any Conditional Payments made by Medicare,
or any medical expenses or payments arising from or related to any released matters that is subject
to this Agreement or the Medicare Release (attached hereto as Exhibit “A”), including but not
limited to all claims and demands for reimbursement of Conditional Payments or for damages or
double damages based upon any failure to reimburse Medicare for Conditional Payments and all
Medicaid liens.

                                    [signatures on next page]




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        Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 30 of 38




                 GLOBAL MANAGEMENT & INVESTMENT CORPORATION




By:                                     —'
                                             [Officer Title]


Date:




Mcdonough hotel, llc




By:                                          , [Officer Title]



Date:




EVON FREEMAN




Date:                    I$

REVIE                          PPROVED) AS TO FORM BY COUNSEL:




                   Lakraj, counsel for                m          Robyn Oliver Webb, counsel for Defendants
 Adeash

 Date:        1-31- 18                                           Date:




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Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 31 of 38
Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 32 of 38
         Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 33 of 38



                                            EXHIBIT A

MEDICARE RELEASE

Medicare Information
Pursuant to Section 111 of the Medicare, Medicaid and SCHIP Extension Act of 2007, The Center
for Medicare and Medicaid Services must be provided the releasor’s full address, Social Security
Number, date of birth, gender, and, if available, their Medicare Health Insurance Claim Number
(HICN.) Provision of this information is a condition of this settlement. Spaces are provided at
the end of this Release for compliance.

Liens – Indemnity and Hold Harmless
It is expressly understood and agreed, Claimant further covenant and agrees that any and all
Medicare, Social Security, hospital, medical insurance coverage subrogation claims and/or any
and all other type of liens or interest that is and/or could be claimed by any person and/or entity,
will be fully paid, satisfied and released from the settlement proceeds paid herein, in trust, unless
and until such time as said liens and/or claims have been fully paid, satisfied or released.

In this regard, Claimant agrees to indemnify and hold harmless the Released Parties, their
insurance carriers, their attorneys and all others in privity with them, from any claim by, through
and/or under Claimant including, but not limited to, any direct claim by Medicare and/or Social
Security for reimbursement of any funds paid by them relating to the injuries and claims arising
from the accident in question.

Medicare Set Aside
It is further expressly understood and agreed, to the extent applicable, Claimant covenants that
Claimant will set aside funds necessary in any approved Medicare Set Aside Account, to pay for
any anticipated future medical and/or health care needs of Claimant, for any injury and/or
condition that requires treatment that arises from the injuries related and/or caused by the accident
in question. In the alternative, Claimant shall covenant that they do not presently anticipate that
Claimant will require medical and/or health care treatment for the injuries and/or conditions related
to and/or arising from the accident in question. Further, should funds not be placed in an approved
Medicare Set Aside Account for Claimant, and care and treatment for injuries and/or conditions
reasonably related to the accident is subsequently sought, then Claimant covenants and represents
to the Released Parties, their insurance carriers, their attorney and others in privity with them, that
Claimant will not submit nor seek payment for said medical care from Medicare and/or any other
government funded program. This covenant and representation shall be included as part of the
indemnification obligations of Claimant stated herein.

It is understood and agreed that the information provided below will be provided to The Centers
for Medicare and Medicaid Services pursuant to The Medicare, Medicaid and SCHIP Extension
Act of 2007.




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 Medicare Health Insurance Claim
 Number (I-TICN)
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 that: 1) I am not currently entitled to Medicare; and 2) none of the
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 injury or injuries claimed in this lawsuit (or related to the inciden
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 released in this agreement were submitted to or paid for by Medica

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  [CLAIMANT/PLAINTIFF signature]




                                         RELEASE AND FULLY
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  UNDE RSTANDS IT,


  Signed, sealed and delivered this                          day of     IfiM             ,20_L8
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                Wtne                              Claimant




                Witness                           Claimant




  STATE OF                   f=rrrnr
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  COUNTY OF                          ktcoru




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                                                                              |^v before me personally
        On the           31^               day of                        20

appeared.
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                                                                           g Release and
to me known to be the person(s) named herein and who executed the foregoin
                                                                             voluntarily
                          acknowledged to me that
executed the same.



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                                                         Notary Public

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                                   Exhibit C




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         Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 37 of 38




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

CYNTHIA BRADLEY AND                     )
EVON FREEMAN,                           )
                                        )         CIVIL ACTION FILE NO.:
         Plaintiff,                     )
                                        )         1:17-CV-02798-WSD
vs.                                     )
                                        )
GLOBAL MANAGEMENT &                     )
INVESTMENT CORPORATION                  )
and McDONOUGH HOTEL, LLC,               )
                                        )
         Defendants.                    )

                                   [PROPOSED] ORDER

         This case is before the Court for consideration of the Joint Motion for

Stipulated Judgment Approving FLSA Settlements. After reviewing the record and

the joint submission of the parties, the Court enters the following Order.

         “When employees bring a private action for back wages under the FLSA, and

present to the district court a proposed settlement, the district court may enter a

stipulated judgment after scrutinizing the settlement for fairness.” Lynn’s Food

Stores, Inc. v. United States, 679 F.2d 1350, 1353 (11th Cir. 1982). The settlement

and release is enforceable “only if the district court enter[s] a ‘stipulated judgment’

approving it.” Nall v. Mal-Motels, Inc., 723 F.3d 1304, 1308 (11th Cir. 2013)

(emphasis added). Having reviewed the Settlement Agreement and Release of

                                         - 15 -
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         Case 1:17-cv-02798-WSD Document 25 Filed 02/13/18 Page 38 of 38




Claims (the “Agreement”) executed by the parties, the Court finds that the settlement

is fair, adequate, and reasonable. The Court finds that the Agreement was negotiated

at arm's length and is not the result of any collusion.

         Therefore, the Joint Motion for Stipulated Judgment Approving FLSA

Settlement Agreement is hereby GRANTED, the settlement of the parties in the

Agreement is hereby APPROVED, and the terms of the parties’ Agreement are

hereby incorporated into this Order as the stipulated JUDGMENT in this case.

         Consistent with the terms of the Agreement, Defendants shall tender to

Plaintiffs all payments within the time periods set forth in the Agreement.

         SO ORDERED this ____ day of ____________, 2018.



                                        _____________________________
                                        WILLIAM S. DUFFEY, JR.
                                        UNITED STATES DISTRICT JUDGE




                                         - 16 -
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